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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION




  PAUL MATHIESON,

          Petitioner
  v.                                                                     CASE NO. 8:04-CV-265-T-30MAP
                                                                                 8:98-CR-322-T-30MAP
  UNITED STATES OF AMERICA,

       Respondent.
  ______________________________/

                                                      ORDER

          Petitioner has filed a Notice of Appeal of this Court's June 12, 2006 decision denying

  his motion for relief under 28 U.S.C. § 2255 (CV Dkt. 62), an Application for Certificate of

  Appealability (“COA”) pursuant to Rule 22, Fed. R. App. P.,1 and 28 U.S.C. §22532 (CV Dkt.

  63), and Motion for Leave to Proceed In Forma Pauperis on appeal (CV Dkt. 64).

          While issuance of a COA does not require a showing that the appeal will succeed,

  see Miller-El v. Cockrell, 537 U.S. 322, 336-37 (2003), under the controlling standard, a

  petitioner must demonstrate that reasonable jurists would find the Court's assessment of the

  Petitioner’s constitutional claims debatable or wrong. See Slack v. McDaniel, 529 U.S. 473,


           1
            "Certificate of Appealability. (1) In a . . . 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
  an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28
  U.S.C. §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must
  either issue a certificate of appealability or state why a certificate should not issue. . . . If no express request
  for a certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of
  appeals." Rule 22, Fed. R. App. P.
           2
           "[I]n . . . a proceeding under section 2255 . . , the final order shall be subject to review, on appeal,
  by the court of appeals for the circuit in which the proceeding is held. . . . (c)(1) Unless a circuit justice or judge
  issues a certificate of appealability, an appeal may not be taken to the court of appeals from -- . . .(B) the final
  order in a proceeding under section 2255. . . . (2) A certificate of appealability may issue . . . only if the
  applicant has made a substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c).
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  484 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir. 2001). Petitioner has failed to

  make this threshold showing. See Slack, 529 U.S. at 485.

        ACCORDINGLY, the Court ORDERS that:

        1.     The Application for Certificate of Appealability (CV Dkt. 63) is DENIED.

        2.     The Motion for Leave to Proceed In Forma Pauperis on appeal (CV Dkt. 64)

               is DENIED.

        DONE and ORDERED in Tampa, Florida on October 4, 2006.




  SA/jsh
  Copy furnished to:
  All Parties/Counsel of Record




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